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     JLDITH A.PHILIPS                                                         URT
    ActingUnitedStatesAttorney                        UN11∫ 忌lミ1∫ f3PT鵠 1♀

    District ofHawaii
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    Attomeys for Plaintiff
    ■INITED STATES OF´ 曲濯ERICA

                     IN tt■ INITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAII

■INITED        STATES OF AMERICA,             )    CRo NO.C籠     21‑09095sゃ 盈
                                              )
                        Plainti範              )   INDICTMENT
                                              )
                        VS.                   ) [18 UoSoC.§ §371 and 1957;
                                              ) 26 UoS.C。 §7206(1)]
HANNAH H□ ART,and                       (1) )
SOOK YOUNG JLNG,                        (2)   )
                                              )

                                              )
                        Defendants。     )
                                              )
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                                      INDICTMttNT

The Grand Jury charges:

                               Introductory Allegations

At times relevant to this Indictment:

       l.      Defendant HANNAH IIEART (I{EART) resided in the District           of

Hawaii.

       2.      FIEART was married to J.K.H. from at least in or around 20L5.

       3.      Defendant SOOK YOLTNG JUNG (JUNG) resided in the District           of

Hawaii.

       4.      FIEART was the owner of Iolana, [nc. (Iolana), a design business

incorporated in the District of Hawaii.

       5.      Hannah Kim Heart Revocable Living Trust (HKHRLT) was a trust

created and used by FIEART in the District of Hawaii.

      6.       HeartLegacy Trust (IILT) was a purported trust created and used by

HEART in the District of Hawaii.

      7.       CHR Empire Trust      (CfR)   was a purported trust created and used by

J.K.H. in the District of Hawaii.

      8.       FffiART was a signatory on, and exercised control over, bank

accounts held in the names of HKHRLT, Iolana, and HLT at Bank of Hawaii,

located in the District of Hawaii.
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       9.       J.K.H. was a signatory on, and exercised control over, bank accounts

held in his name at First Hawaiian Bank and atAmerican Savings Bank, and held

in the name of CHR at Bank of Hawaii, all located in the District of Hawaii.

       10.      Tyche Trust (Tyche) was   a   purported trust created and used by JUNG

in the District of Hawaii.

       1   1.   JI-ING was a signatory on, and exercised control over, bank accounts

held in her name at Bank of Hawaii, and in her name and in the name of Tyche at

American Savings Bank, all located in the District of Hawaii.

       12.      CO-CONSPIRATOR 1 (CC-l), not named as a defendant herein, was

the owner of Gimmel Group, LLC (Gimmel Group), a Hawaii corporation that

purported to be a personal investment business. CC-1 was a signatory on, and

exercised control over, Gimmel Group's multiple bank accounts at Bank       of

Hawaii, located in the District of Hawaii.

       13.      Mortgage Compliance Advisors      & Solutions LLC (MCA&S)     was a

limited liability company registered in the state of Florida controlled by a member

of the mail fraud scheme, as set forth, infra, inparagraphs 25 to 26, who is not

named in this Indictment.

      14.       FffiART and JIING used the following individuals, among others,

identified by their initials, as nominees to conceal the proceeds from the fraud

scheme: C.H., B.K.K., C.S.W., S.S.L., and J.H.
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           15.   The Internal Revenue Service (IRS) was an agency of the United

 States Department of the Treasury responsible for enforcing and administering

 federal tax 1aws.

                                        Count 1
                         Conspiracy to Defraud the United States
                                   (18 U.S.C. $ 371)

           16.   The Introductory Allegations contained in paragraphs 1 through 15

are realleged and incorporated by reference as though    fully set forth herein.

                             The Conspiraclr and Its Objects

       17.       From at least in or around January 2015, and continuing through at

least in or around February    2llg,in the District of Hawaii and elsewhere, IIEART

and JUNG, the defendants, together with CC-l, did unlawfully, voluntarily,

intentionally and knowingly, conspire, combine, confederate, and agree with each

other and with others known and unknown to the grand jury to defraud the United

States, by dishonest and deceitful means, by impeding, impairing, obstructing, and

defeating the lawful government functions of the IRS in the ascertainment,

computation, assessment, and collection of revenue, namely, by filing with the IRS

federal income tax returns claiming fraudulent refunds based on false tax

withholdings reported on Forms 1040, 1040X, and 1099-MISC and engaging in a

course of conduct to prevent the IRS from recouping the fraudulently obtained tax

refunds.


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                                   Manner and Means

      18.    It was part of the conspiracy that FffiART and fLING, and their co-

conspirators, would and did the following, among other things:

             a. Recruit    and cause to be recruited participants to   file fraudulent tax

                 returns to fraudulently obtain tax'refunds;

            b.   Generate and cause to be generated fraudulent IRS Forms 1099-

                 MISC that purported to be issued by participants' mortgage lenders

                 that falsely reported, among other things, large tax withholdings;

            c. File and cause to be filed with the IRS false Forms        1099-MISC;

            d. File    and cause to be filed with the IRS Forms 1040 U.S. Individual

                 Income Tax Return and Forms 1040X Amended U.S. Individual

                 Income Tax Retum, based on the false and fraudulent Forms 1099-

                 MISC, that falsely and fraudulently claimed large tax refunds;

            e.   Cause to be provided to themselves and others, U.S. Treasury

                 Checks obtained by filing tax returns claiming false and fraudulent

                 tax refunds;

            f.   Pay   CC-l substantial   fees for CC-1's services based, in part, on a

                 percentage of the tax refunds received;

            g. Provide participants with      false, fraudulent, and frivolous

                 information concerning the mail fraud scheme, as set forth, infra,
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                   in paragraphs 25-26, and CC-l's involvement in it, that they

                  instructed participants to provide to the IRS in response to IRS

                  efforts to recover the fraudulently obtained tax refunds.

             h.   Send false, fraudulent, and frivolous information conceming the

                  mail fraud scheme to the IRS in response to IRS efforts to recover

                  the fraudulently obtained tax refunds.

             i.   Create purported trusts to conceal the fraudulently obtained tax

                  refunds from IRS recovery efforts.

             j.   Open bank accounts in the names of business entities and

                  purported trusts to conceal the fraudulently obtained tax refunds

                  from IRS recovery efforts.

             k. Transfer fraudulently obtained tax refund proceeds between bank
                  accounts held in their names, purported trusts, and nominees to

                  prevent the IRS from collecting the fraudulently obtained

                  proceeds.

                                      Overt Acts

      19.    In furtherance of the conspiracy and to affect the objects thereof,

IIEART and JI-ING and their co-conspirators committed and caused to be

committed the following overt acts, among others, in the District of Hawaii and

elsewhere:


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    a。    From in or around January 20L5, to in or around October 2015,

          I{EART paid CC-1 and MCA&S fees in exchange for the

          preparation of her false and fraudulent Forms 1040X and 1099-

          MISC. I{EART signed checks from her Bank of Hawaii Iolana

          business account ending in -1608 on or about the dates listed

         below as follows:


               Date               Payee          Approximate Amount

              5/10/15           MCA&S                     S1250

              5/18/15           MCA&S                     S1250

              6/10/15             CC-1                    $500

             10/26/15             CC-1                    S100

             10/26/15             CC-1                    $4000

   b. On or about July 28, 2015, HEART filed and caused to be filed

         with the IRS a false and fraudulent Amended U.S. Individual

         Income Tax Retum, Form 1040X, for the 20L4 taxyear, in her

         own name, fraudulently asserting a claim for a refund in the

         amount of $464,904. Attached to the Form 1040X, I{EART filed

         and cause to be filed with the IRS a false and fraudulent IRS Form

         1099-MISC, for taxyear 2014, purportedly filed by a mortgage




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          lender, which form reported a false tax withholding amount   of

          $1,292,7 88.65 for TIEART.

    C.    On or about October 27,2015, FIEART deposited and caused to be

         deposited a fraudulently obtained U,S. Treasury Check in the

         amount of $471 ,949.23,payable to IIEART into the HKHRLT

         account ending    in -9446 at Bank of Hawaii.

   d.    On or about October 27,2015, I{EART transferred and caused to

         be transferred $470,000, from the     HKHRLT Bank of Hawaii

         account ending    in -9446, to the Iolana Bank of Hawaii account

         ending in -1608.

         On or about October 28,2015, HEART paid CC-1 $117,987, from

         the Iolana Bank of Hawaii account ending in -1608, for assisting in

         the false tax filings and concealment of the fraudulently obtained

         refund.

         On or about October 28,2015, FIEART paid MCA&S $12,000,

         from the Iolana Bank of Hawaii account ending in -1608, for

         assisting in the false tax filings.

   g.    On or about March 1,2016, FIEART created and caused to be

         created the purported trust, HLT.




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    h.    On or about April 27,2016,I{EART opened and caused to be

          opened a bank account ending   in -2345 in HLT's name at Bank of

          Hawaii.

    i.    On or about June 28, 2016, JLING filed and caused to be filed with

         the IRS a false and fraudulent U.S. Individual Income Tax Return,

         Form 1A40, for the 2015 tax year, in her own name, fraudulently

         asserting a claim for a refund in the amount of $1,134,902.

         Attached to the Form 1040, JLING filed and caused to be filed with

         the IRS a false and fraudulent IRS Form 1099-MISC, for taxyear

         2015, purportedly filed by a mortgage lender, which form reported

         a false tax withholding amount of $1 ,707,489.37.

   j.    On or about   Jlly 29,2016, JLrNG created and caused to be created

         the purported trust, Tyche.

   k. On or about July 29,2016, JLING opened and caused to be opened
         a bank account ending   in -7099 in her name at Bank of Hawaii.

   1. On or about August 5,2016, JLING opened and caused to be

         opened a bank account ending   in -9652 in the name of Tyche at

         American Savings Bank.




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        m. On or about August 30,2016, at the direction of FIEART,     JLINTG,


             and other co-conspirators, J.K.H. created and caused to be created

             the purported trust, CHR.

        n.   On or about September 7,2016, at the direction of FIEART,

             JLTNG, and other co-conspirators, J.K.H. opened and caused to be

             opened a bank account ending in -4851 in the name of CHR at

             Bank of Hawaii.

    0。       On or about September 15,2016,JLNG and IIEART deposited

          and caused to be deposited a」 Laudulently obtained UoS.Treas町


          Check in the amount ofSl,147,036.31,payable to JLNG,into

          JLNG}'s account ending in‐ 7099 at Bank ofHawa五       .




   p。     On or about September 15,2016,JLNG transfelTed and caused to

          be transferred S100,000,from her accOunt ending in‑7099 at Bank

          ofHawa五 ,to    JoK.H.via cashier's check。

   q。    On or about September 15,2016,JLNG transferred and caused to

         be transferred S100,000,from her accOllnt ending in‑7099 at Bank

         ofHawa五 ,to     C.H.via cashier's check。

   r.    On or about September 15,2016,JLNG transfelTed and caused to

         be transfeFed S200,000,from her account ending in‐ 7099 at Bank

         ofHawa五 ,to the CIER account ending in‑4851 at Bank ofHawa五         .




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    S。    On or about September 75,2016, ILII{G transferred and caused to

          be transferred $200,000, from her account ending   in -7099 at Bank

          of Hawaii, to C.S.W. via cashier's check.

         On or about September 15,2016, JLING transferred and caused to

         be transferred $200,000, from her account ending    n   -7A99 at Bank

         of Hawaii, to S.S.L. via cashier's check.

         On or about September 75,2076, JLII{G transferred and caused to

         be transferred $100,000, from her account ending    n   -7099 at Bank

         of Hawaii, to B.K.K. account ending in -0573 at Bank of Hawaii.

    V.   On or about September 15,2016, JLING transferred and caused to

         be transferred$32,424, fromher account ending    in -7099   at Bank

         of Hawaii, to J.K.H. via cashierjs check.

    w. On or about September 15,2016, ILING paid FIEART

         approximately 9532,424, via cashier's checks payable to J.K.H.

         and nominees, including B.K.K. and C.H., for assisting in the false

         tax fiiings and concealment of the fraudulently obtained refund.

   x. On or about September      16,2016, IUNG withdrew and caused to

         be withdrawn $150,000 from her account ending    n   -7099 at Bank

         of Hawaii to purchase a $150,000 cashier's check payable to

         Tyche.
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        y. On or about October 7,2016, JIII{G transfer:red       and caused to be

              transferred $100,000, from the Tyche account ending in -.9652 at

              American Savings Bank, payable to herself,

        z. On or about October 7 ,2016,      JUNG transferred and caused to be

              transferred S30,000, from the Tyche account ending     in    -9652 at

              American Savings Bank, to J.H. via cashier's check.

        aa.   On or about October 7,2016, JLNG transferred and caused to be

              transferred $125,000, from the Tyche account ending     in    -9652 at

              American Savings Bank, to S.S.L. via cashier's check.

       bb.on or about November 30,2016, in response to          a notice   from the

              IRS attempting to recover the fraudulently obtained refund, ILNG,

              for the purposes of thwarting such collection, mailed a letter to an

              IRS employee in which she falsely claimed the IRS was wrong that

              she owed the taxes because they had been collected.

       cc. From on or about     April 18,2016, to on or about February 27,

          2019, TIEART mailed and faxed false, fraudulent, and frivolous

          letters to the IRS in response to IRS efforts to recover the

          fraudulently obtained tax refund.

All in violation of Title   18, United States Code, Section 371.
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                                     Count 2
       Making and Subscribing a False Return, Statement, or Other Document
                             (26 u.S.C. $ 7206(1))

        20.    The Introductory Allegations in paragraphs 1 through 15 are realleged

 and incorporated by reference as though fully set forth herein.

       21.      On or about July 28, 2075, in the District of Hawaii and elsewhere,

 HEART did willfully make and subscribe, and willfully file and cause to be filed

with the Internal Revenue Service, a false Amended U.S. Individual Income Tax

Return, Form 1040X, for calendar year 2014, which was verified by a written

declaration that it was made under the penalties of perjury and which FIEART did

not believe to be true and correct as to every material matter, in that the Form

1040X reported, at Line 1, that FDART earned other income totaling 82,41A,791,

reported, at Line 72,thatI{EART had tax withholdings of $1,292,789, and

claimed, atLtne 22,that FffiART was owed a refund of $464,904, whereas,       as


FDART well knew, she did not earn the other income, did not have the tax

withholdings reported, and was not entitled to the refund claimed on the tax retum.

      A11   in violation of Title 26,United States Code, Section 7206(l).

                                    Count 3
      Making and Subscribing a False Return, Statement, or Other Document
                            (26 u.S.C. $ 7206(1))

      22.     The Introductory Allegations in paragraphs 1 through 15 are realleged

and incorporated by reference as though fully set fonh herein.


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        23.      On or about June 28, 2076, in the District of Hawaii and elsewhere,

 JUNG did willfully make and subscribe, and willfully file and cause to be filed

 with the Intemal Revenue Service, a false U.S. Individual Income Tax Return,

 Form 104A, for calendar year 2015, which was verified by a written declaration

 that it was made under the penalties of perjury and which JLING did not believe to

 be true and correct as to every material matter, in that the Form 1040 reported, at

Line 21 , that JLING earned other income totaling     $7 ,7 07   ,489, reporte d, at Line   64 ,


that JIING had tax withholdings of $7,707,489, and claimed, at Line 76a,that

JUNG was owed a refund of $1, l34,g}2,whereas, as JUNG well knew, she did not

eam the other income, did not have the tax withholdings reported, and was not

entitled to the refund claimed on the tax return.

       A11   in violation of Title 26,United States Code, Section 7206(l).

                                       Count 4
                                  Money Laundering
                                  (18 U.S.C. g 1es7)

      24.      The Introductory Allegations in paragraphs 1 through 15 are

realleged and incorporated by reference as though fully set forth herein.

                               The Mail Fraud Scheme

      25.      From at least in or around May 2015, through at least in or around

September 2016, FIEART and JUNG, the defendants, with             CC-l and others known

and unknown to the grand    jrry, knowingly    devised, and intended to devise, a


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 scheme and artifice to defraud the United States and to obtain money and property

 from the United States, through materially false and fraudulent pretenses,

 representations, and promises, by, among other things, scheming to obtain a

 fraudulent tax refund by filing with the IRS faise U.S. individual lncome Tax

 Returns, Forms 1040 and 1040X, with attached Forms 1099-MISC.

       26.      For the purpose of executing the scheme and artifice to defraud, on or

 about the dates set forth in the chart below, HEART and JUNG, used and caused to

 be used the United States Postal Service and private and commercial interstate

 carriers, to send, among other things, the following items:


  Date of Mailing                 Iteln   λ4ailed

  7/28/15                        IIEART's Amended U.S. Individual Income Tax
                                 Return, Form 1040X for 2014, with attached Form
                                  1099-MISC

  10/23/15                       U.S. Treasury Check payable to FIEART in the
                                 amount of $471,949.23

 6/28/16                         JUNG's U.S. Individual Income Tax Retum, Form
                                 1040 for 2A15, with attached Form 1099-MISC

 9/12/16                         U.S. Treasury Check payable to fLING in the
                                 amount of $1 ,747,036.31


                                    Monetary Transactions

      27.      On or about the date set forth in the chartbelow, within the District   of
Hawaii and elsewhere, FIEART knowingly engaged and attempted to engage in          a

monetary transaction within the United States, by, through, andto a financial

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 institution, affecting interstate and foreign commerce, knowingthat such

 transaction involved criminally derived properly with a value greater than $10,000,

 that is, the transfer, withdrawal, and deposit of funds and monetary instruments

 described and in the amount set forth in the chart below, which were derived from

 a specified unlawful activity, namely, the proceeds of the Mail Fraud Scheme, in

violation of Title 18, United States Code, Section   l34l:

 Count Date           Amount          Description

 4        10/25/16    $60,500        Transfer via check from Iolana Bank of
                                     Hawaii account ending in -1608, payable to
                                     CHR

       Al1 in violation of Title 18, United States Code, Section 1957.

                                    Counts 5‑15
                                 Money Laundering
                                 (18 U.S.C. $ 1es7)

       28.   The Introductory Allegations in paragraphs 1 through 15 and the     Mail

Fraud Scheme in paragraphs 25 through 26 are realleged and incorporated by

reference as though fully set forth herein.

       29.   On or about the dates set forth in the chart below, within the District

of Hawaii and elsewhere, rIINIG, the defendant, knowingly engaged and attempted

to engage in monetary transactions within the United States, by, through, and to a

financial institution, affecting interstate and foreign commerce, knowingthat each

such transaction involved criminally derived property with a value greater than

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        Case 2:21-mj-00496-SKV Document 1 Filed 09/07/21 Page 18 of 21




$10,000, that is, the transfer, withdrawal, and deposit of funds and monetary

instruments described and in the amounts set forth in the charl below, which were

derived from a specified unlawful activity, namely, the proceeds of the Mail Fraud

Scheme in violation of   Title   18, United States Code, Section 1341,   with each such

monetary transaction constitutinga separate count of this Indictment:


Count Date          Amount             Description
5     9/15/16       S100,000           Transfer via cashier's check from JIfNG's
                                       Bank of Hawaii account ending in -7099,
                                       payable to J.K.H.
6        9/15/16    $100,000           Transfer via cashier's check from JUNG's
                                       Bank of Hawaii account ending in -7099,
                                       payable to C.H.
7       9/15/16     S200,000          Inteinal bank transfer from JLNG's Bank of
                                      Hawa五 account ending in‑7099,to CIIR
                                      Bank ofHawa五 account ending in‑4851
8       9/15/16     S200,000          Transfer via cashier's check from fUNG's
                                      Bank of Hawaii account ending in -7099,
                                      payable to C.S.W.
9       9/15/16     S200,000          Transfer via cashier's check from IUNG's
                                      Bank of Hawaii account ending in -7099,
                                      payable to S.S.L.
10      9/15/16     $100,000          Internal bank transfer from IING's Bank of
                                      Hawaii account ending in-7099, to B.K.K.
                                      Bank of Hawaii account ending in -0573
        9/15/16     $32,424           Transfer via cashier's check from IING's
                                      Bank of Hawaii account ending in -7099,
                                      payable to J.K.H.
12      9/16/16     S150,000          Transfer via cashier's check from fUNG's
                                      Bank of Hawaii account ending in -7099,
                                      payable to Tyche
13      10/7/16     S100,000          Transfer via cashier's check from Tyche
                                      American Savings Bank account ending in
                                      -9652, payable to fLING


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I




      Count Date             Amount         Description
      14         10/7/16     $30,000        Transfer via cashier's check from Tyche
                                            American Savings Bank account ending in
                                            -9652, payable to J.H.
      15        10/7/16      $125,000       Transfer via cashier's check from Tyche
                                            American Savings Bank account ending in
                                            -9652, payable to S.S.L.

           A11   in violation of Title 18, United States Code, Section 1957.

                                         Forfeiture Notice

           1.       The allegations contained in all paragraphs of Counts 4 through 15     of
    this Indictment are realleged and incorporated by reference for the purpose      of
    noticing forfeiture pursuant to Title 18, United States Code, Section 982.

           2.      The United States hereby gives notice to HANNAH FIEART and

    SOOK YOUNG ILING, the defendants, that, upon conviction of the offenses in

    violation of Title 18, United States Code, Section    1957 ,   charged in Counts 4

    through 15 of the Indictment, the government will seek forfeiture, pursuant to Title

    18, United States Code, Section 982(a)(1), of any and all properfy, real or personal,

    involved in the offenses, and all properly traceable to such property, including but

    not limited to a sum of money equal to at least approximately $1,618,985 in United

    States curency.

           3.      If by any act or omission of FIEART and FLII'.IG, any of the property

    subject to forfeiture described in paragraph2hercin:

                  a.   cannot be located upon the exercise of due diligence;


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        Case 2:21-mj-00496-SKV Document 1 Filed 09/07/21 Page 20 of 21




             b.   has been transferred or sold to, or deposited   with,   a   third party;


              Ｃ
                  has been placed beyond the jurisdiction of the court'
              ｄ
                  has been substantially diminished in value; and

             e.   has been commingled with other property, which cannot be

                  subdivided without diffi culty;

the United States of America    will be entitled to forfeiture of substitute property up

to the value of the property described in paragraph 2 herein, pursuant to Title 2l           ,




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 United States Code,Section 853o),as incOrporated by Title 18,United States Code,

 Section 982(b)(1)。


       DATED:      July 15,2021,at Honolulu,Hawaii.

                                            A TRUE BILL


                                             / s / Foreperson
                                            FOREPERSON




Acting United States Attomey
District ofHawa五




VALERIE GoPIこ ISS
Trial AttottLeys




          畑     S YATES
Assistant United States Attomey




United States v.H劉 ■nah Heart et al。
Indictment
Cr.No。
           c磯      21‑000955膠 醐
                                       20
